         Case 9:19-cr-00029-DLC Document 47 Filed 10/23/19 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                                                                          FILED
                     FOR THE DISTRICT OF MONTANA                            ocr.23 201s
                          MISSOULA DIVISION                             ~ . l&IHS 10istrict Court
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 UNITED STATES OF AMERICA,                          CR 19-29-M-DLC

                     Plaintiff,

 vs.                                                      ORDER

 RENE MYRON GARDNER and
 CHRISTOPHER DAVID BARLOW,

                      Defendants.

       Before the Court is the United States' Unopposed Motion to Dismiss

Forfeiture Allegation without prejudice. (Doc. 46.) In their plea agreement,

Defendants agreed to forfeit their interest in various guns and ammunition. (Doc.

46 at 2.) However, the ATF purchased these items during the investigation of the

case. (Id.) Having found good cause,

       IT IS ORDERED that the Government's Motion (Doc. 46.) is GRANTED.

The forfeiture allegation alleged in the indictment in this case is DISMISSED

without prejudice.

       DATED this 23'! day of October,




                                       Dana L. Christensen, Chief District Judge
                                       United States District Court


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